                                    UNITED STATES COURTS
                                EASTERN DISTRICT OF NEW YORK
                                   QUALITY CONTROL CHECK
                                     ATTORNEY CASE OPENINGS
                                                  Corrections
     Were Corrections made to this ACO case?                                      □
                                                                                  ✔       Yes     □      No
 1       Attorney did not complete the initiating documents.
         Checked on http://www.nyed.circ2.dcn/cfm/ecf/atyopencase.cfm to determine who the
         attorney was that attempted to file the case and contacted that attorney in order to retrieve    □
         Complaint, Cover Sheet, Summons, and payment information or to advise the attorney to
         file the initiating documents.
 2       Court Designation was incorrect. Copied case, changed Court designation, deleted
         incorrect case and advised other Court. This is in conjunction with Paragraph 10-NY-E
         Division of Business Rule 50.1(d)(2)
                                                                                                          □
 3       Attorney did not separate the initiating document. Separated document into individual
         attachments. Replaced Main document and attached the cover sheet and Summons (if
         applicable).
                                                                                                          □
 4       Attorney did not include    u      Complaint     u       Cover Sheet    u      Summons
         Contacted attorney and retrieved missing document from attorney. □                               □
 5       Attorney used         □     Incorrect Form of Summons        □        Defendant’s name and
         address not completed □         Plaintiff’s attorney name and address not completed.
        □
        ✔  Caption on the summons does not match caption on the complaint.
              □ Incorrect Date. □ Incorrect Case Number                                                   □
                                                                                                          ✔
         Contacted attorney and requested a corrected summons.

 6       Attorney used incorrect event when docketing the initiating document.
         Deleted document and re-docketed using the correct event.                                        □
 7            □ Corrected Party Role             □ Party spelling         □ $GGHG &RUSRUDWH 3DUHQWV
              □  Added  missing  Party
              □ Converted from All Caps to Initial Caps                                                   □
                                                                                                          ✔
              □
              ✔  Added party text      □      Removed party text       □✔   Added alias
 8       Corrected Short Title                                                                                    I
 9       Corrected    u                                         u
                           Basis of Jurisdiction ✔ $UELWUDWLRQ&RGH
                                                □LJ Cause of Action □ Citizenship of Principal Parties
                      □ Nature of Suit                                 Fee Status □    County Code
                                                                                                          □
                                                                                                          ✔
                                                                                    ✔


                      □
                      ✔    Dollar   Demand      □   Jury Demand     □ Class Action  □ Origin
 10      NY-E Division of Business Rule 50.1(d)(2) was not completed. Contacted attorney and
         retrieved corrected cover sheet and replaced on docket sheet.                                    □
                                    Added case in other court to docket sheet.
 11
 12         Added/Corrected Disclosure Statement question and response in docket entry to No              -□  ✔
 13                 Page 1, Question 1(b) Plaintiff's county of residence was not indicated
 14                       Page 2, Question 2(c) was not completed or is inconsistent                       -
 15                          Certification of Arbitration Eligibility not completed                       n
Other
        Changed address on the docket for attorney Steven John Moser to match address
        listed on the Complaint.
                                                                                                          □
                                                                                                          ✔
